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                             THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA


RE: ANGELA NICOLE SPINNER                                        *               CHAPTER 13
                                                                 *               CASE NO. 23-61126
                          Debtor(s)                              *

                                   MOTION TO EXTEND AUTOMATIC STAY
                                  AND NOTICE OF OPPORTUNITY FOR HEARING

The Debtor(s), by Counsel, pursuant to Bankruptcy Code Section 362 and state as follows:
    1. On 10/13/2023, the Debtor(s) filed in this Court a Petition under Chapter 13 of the US Bankruptcy Code.
    2. The Debtor's previous bankruptcy cases are as follows: (List all cases, filing date, Chapter, status and date
       of discharge or dismissal)
       20-61501 Filed 11/17/2020 Chapter 13 Dismissed 04/27/2023.
    3. Due to the dismissal of the previous case, the automatic stay will expire 30 days after the date of filing this
       new petition.
    4. The Debtor(s) is requesting that the Court extend the automatic stay for the following reason(s). The
       Debtor has agreed to a wage order. She has more income coming into her household due to a new marriage.
       Debtor is paying her creditors back 100% and believes she can make the Bankruptcy work this time.

WHEREFORE, your Debtor(s) prays that the Court, after notice and an opportunity for hearing, enter an Order
extending the automatic stay until such time the Court deems otherwise.

Dated: 10/18/2023
                                                               By: /s/HEIDI SHAFER
                                                                       HEIDI SHAFER
                                                                       Cox Law Group
                                                                       901 Lakeside Drive
                                                                       Lynchburg, VA 24501


                                            NOTICE FOR HEARING


Please take notice that the above named Debtor(s) have filed a Motion to Extend Automatic Stay, true copies of
which are attached hereto, and shall submit the same to the Bankruptcy Judge, for approval on 10/26/2023 at 9:30
a.m. or as soon thereafter as the parties can be heard, by Zoom using URL
https://vawb-uscourts-gov.zoomgov.com/j/1603692643 and Meeting ID: 1603692643.


                                          CERTIFICATE OF MAILING


         I hereby, certify that I have on 10/18/2023, mailed a true copy of the foregoing motion to all creditors on
the mailing matrix in this case by First Class U.S. Mail.

DATED: October 18, 2023                                                 /s/ HEIDI SHAFER
                                                                        Counsel for Debtor(s)
